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                         EXHIBIT A




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    10                                UNITED STATES DISTRICT COURT
    11               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    12
    13 JOHN DOE,                                                  CASE NO. 2:21-cv-02803 RGK (MAR)
    14                       Plaintiff,                           PLAINTIFF’S SURREPLY IN
                                                                  OPPOSITION TO DEFENDANTS’
    15               vs.                                          MOTION TO DISMISS
                                                                  COMPLAINT FOR LACK OF
    16 UNITED STATES OF AMERICA;                                  SUBJECT MATTER
       TRACY L. WILKISON (OFFICIAL                                JURISDICTION AND FAILURE TO
    17 CAPACITY), KRISTI KOONS                                    STATE A CLAIM UPON WHICH
       JOHNSON (OFFICIAL CAPACITY),                               RELIEF CAN BE GRANTED
    18                                                            PURSUANT TO F.R.C.P. 12(b)(1)
                Defendants.                                       AND 12(b)(6)
    19
                                                                  [Filed Concurrently with Declaration of
    20                                                            Nicole R. Van Dyk In Support of
                                                                  Plaintiff’s Surreply]
    21
                                                                  Date: July 6, 2021
    22                                                            Time: 9:00 a.m.
                                                                  Crtrm.: 850
    23
                                                                  Assigned to Hon. R. Gary Klausner
    24
    25                                                            Complaint Filed: March 31, 2021
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                           PLAINTIFF’S SURREPLY TO DEFENDANTS’ MOTION TO DISMISS COMPLAINT
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     1               Plaintiff files this surreply to (1) address a new argument first raised by the
     2 Government in its Reply, (2) object to the Government’s reliance on administrative
     3 forfeiture notices that this Court has, since the filing of Plaintiffs’ Oppositions,
     4 found unconstitutional, and (3) correct a factual misstatement in the Government’s
     5 Reply brief that is critical to the validity of the USPV claim contesting the
     6 Government’s forfeiture notices.
     7 I.            The Government’s New Claim That It Can Keep Plaintiffs’
     8               Non-Forfeited Property As “Evidence” Is Legally Wrong And Entirely
     9               Inconsistent With Its Prior Representations To This Court.
    10               In its Motion to Dismiss, the Government asserted that Plaintiffs’ cases
    11 should be dismissed because their property was being forfeited: “Because the
    12 government has commenced forfeiture proceedings against the assets [plaintiff]
    13 seeks to have returned, plaintiff cannot show that subject matter jurisdiction lies,
    14 plaintiff has an adequate remedy at law and the Court is divested of jurisdiction to
    15 hear plaintiff’s case.” (Dkt. 25, Mot. to Dismiss, at 1:9-13.)
    16               Plaintiffs pointed out in each of their Oppositions that, in addition to the
    17 myriad other problems with the Government’s position, the Government does not
    18 claim it is forfeiting all the contents of all the boxes, and that Plaintiffs seek the
    19 return of property that simply is not on the Government’s notice of forfeiture: “Each
    20 of the plaintiffs in these cases seeks the return of property –including cash, gold,
    21 jewelry, records, and other items – that is not listed on the Government’s forfeiture
    22 notice.” (Dkt. 28, Opp., at 6:15-17.)
    23               In its Reply, the Government asserts for the first time an argument that is not
    24 only brand-new, but is also wrong and contrary to its prior representations to
    25 Plaintiffs and the Court. The Government now asserts that the Court cannot
    26 consider Plaintiffs’ Motions for Return of property that is not subject to forfeiture
    27 because the Government intends to use that non-forfeited property as “evidence” to
    28 support its forfeiture of other property. (Dkt. 29, Reply, at 6:15-17 (“As to boxes
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     1 within the forfeiture proceeding, the government has the right to retain documents or
     2 any other items situated therein as evidence.”).) In a footnote, the Government cites
     3 two cases purportedly in support this new argument: Ramsden v. United States, 2
     4 F.3d 322, 326 (9th Cir. 1993), and United States v. Mills, 991 F.2d 609, 612 (9th
     5 Cir. 1993). But the Government’s new argument fails.
     6               First, Ramsden does not support the Government’s position; on the contrary,
     7 the Ramsden Court exercised the very Rule 41 jurisdiction that the Government
     8 claims this Court may not assert here and ordered the Government to return the
     9 original seized documents to the movant. Ramsden, 2. F.3d at 327. 1 Thus, the
    10 Government cites Ramsden for the notion that this Court should do exactly the
    11 opposite of what Ramsden did. Here, the Government is moving to dismiss
    12 Plaintiffs’ claims before this Court exercises its equitable authority under Rule 41 to
    13 consider the request to return non-forfeited property. But Ramsden expressly found
    14 the exercise of Rule 41 jurisdiction to be appropriate for this purpose. Id. at 326
    15 (“[W]e hold that the balance of equities tilts in favor or reaching the merits of
    16 Ramsden’s Rule 41(e) claim.”). Ramsden does not support the Government’s
    17 argument.
    18               Neither does Mills. In fact, Mills stands for the rather unremarkable principle
    19 that property that was legally seized and held by the Government generally can be
    20 retained by the Government for use as evidence. Mills says nothing about retaining
    21 illegally seized property as evidence. Moreover, as in Ramsden, the Mills court
    22 expressly considered the merits of Mills’s Rule 41 claim, just as Plaintiffs ask the
    23 Court to do here. Mills, 991 F.2d at 612. Thus, the Government’s reliance on Mills
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    26    Indeed, Ramsden’s consideration of the need to retain evidence concerned
       whether it was “reasonable” for the Government to retain only a copy of certain
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       documents in order to satisfy its treaty obligations to a foreign government that
    28 sought to use them in a pending prosecution of the movant. Ramsden, 2 F.3d at 327.
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     1 and Ramsden is entirely misplaced. Both cases stand for the notion that the Court
     2 should exercise its Rule 41 jurisdiction, and therefore deny the Motion to Dismiss.
     3               Second, the Government’s blanket assertion that it is keeping all of Plaintiffs’
     4 non-forfeited property as “evidence” is absurd. Plaintiffs expressly asserted that
     5 they are seeking the return of “property – including cash, gold, jewelry, records, and
     6 other items – that is not listed on the Government’s forfeiture notice.” (Dkt. 28,
     7 Opp., at 6:15-17.) It is hard to understand how cash, gold, and jewelry all would be
     8 “evidence” for the forfeitability of other property and the Government makes no
     9 effort to explain its flat assertion. This unexplained and unsupported assertion about
    10 property the Government concedes is not subject to forfeiture cannot be enough to
    11 divest this Court of jurisdiction over claims involving such property.
    12               Third, the Government asks this Court to create a dangerous new precedent
    13 that would tear a gaping hole in the Fourth Amendment. The Government does not
    14 dispute that its seizure of Plaintiffs’ property was not authorized as a criminal search
    15 or seizure. See, e.g., Coe v. United States, 2:21-cv-03019, Dkt. 25-1 at 8-9
    16 (attaching warrant and affidavit). Thus, no search or seizure warrant permitted the
    17 Government to do anything other than protect the property belonging to USPV box
    18 holders and return it to its owners as soon as practicable. The Government does not
    19 claim that any Court has since authorized its retention of this property as
    20 “evidence.” Despite this lack of authorization, the Government now contends that
    21 so long as it “declares” that it is keeping the non-forfeitable property for “evidence”
    22 purposes, no Court has jurisdiction to even consider the reasonableness of this
    23 deprivation. And in support of this breathtaking expansion of unreviewed and
    24 unreviewable Governmental seizure power, it cites two cases that both stand for the
    25 well-established proposition that the Court emphatically should consider the
    26 reasonableness of the seizure. Suffice it to say that extraordinary contentions
    27 require extraordinary support and the Government supplies no support whatsoever.
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                        PLAINTIFF’S SURREPLY TO DEFENDANTS’ MOTION TO DISMISS COMPLAINT
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     1               Fourth, Plaintiffs must also call attention to the Government’s shifting
     2 statements to this Court because they underscore the plain insufficiency of the
     3 Government’s “evidence” assertion. The Court will recall that in early April 2021,
     4 the Government successfully urged this Court to deny a TRO request by one of the
     5 Plaintiffs based on the Government’s assertion that “no searches of his property are
     6 now occurring or are planned.” (Dkt. 15, Opp. to Ex Parte App. for TRO, at 1:12-
     7 13 (emphasis added).) The Government further asserted that there could be no
     8 ongoing constitutional violations because “the inventorying of the contents has been
     9 completed.” (Id. at 7:3.) This now stands in stark tension with the Government’s
    10 new position that it needs to retain everything in Plaintiffs’ safe deposit boxes for
    11 “evidentiary” purposes. When did these evidentiary searches happen? Taking at
    12 face value the Government’s promise to Magistrate Judge Kim that it was
    13 conducting only a limited “inventory” and “inspection” and would stop once it
    14 determined ownership, 2 and taking at face value the Government’s assertion that it
    15 was conducting no further searches after it left the USPV premises on March 26, 3
    16 how is it possible that the Government even knows the contents of, for example, all
    17 documents in every box? Certainly, the Government’s newly asserted need for
    18 evidence renders the scrutiny of a Rule 41 proceeding more necessary than ever.
    19 II.           Plaintiffs Object To Any Forfeiture Proceeding Relying On Notices That
    20               This Court Has Since Found Constitutionally Insufficient.
    21               Plaintiffs request that the Court consider the effect of its recent decision
    22 granting the plaintiffs’ request for a temporary restraining order (“TRO”) in
    23 Snitko v. United States, 2:21-cv-4405-RGK-MAK, on the asserted grounds for the
    24
    25   2
             Coe v. United States, No. 2:21-cv-03019-RGK-MAR, Dkt. 25-3 at 9-10 ¶ T.
         3
    26    Doe v. United States, No. 2:21-cv-02803-RGK-MAR, Dkt. 15 at 2-3 (“all the
       inventory searches were completed by March 26, 2021, so [Doe’s] property will not
    27
       be searched again, absent additional justification, such as a search warrant for a
    28 specific box or boxes.”).
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                        PLAINTIFF’S SURREPLY TO DEFENDANTS’ MOTION TO DISMISS COMPLAINT
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     1 Government’s Motions to Dismiss in these cases. Plaintiffs filed their Opposition to
     2 the Government’s Motion to Dismiss on June 15, 2021 (Dkt. 28), before this Court
     3 issued an order granting plaintiffs’ TRO in Snitko. In that Order, the Court found
     4 that the “anemic” language of the Government’s administrative forfeiture notices
     5 failed to satisfy Due Process. (Snitko, Dkt. 52 at 5.)
     6               Because the Government used the exact same in language in all of its
     7 administrative forfeiture notices, including the notices purporting to forfeit some of
     8 each Plaintiffs’ seized property, Plaintiffs notified the FBI and the Government of
     9 their objection to any administrative forfeiture based on the constitutionally
    10 insufficient notices. (Declaration of Nicole R. Van Dyk (“Van Dyk Decl.”) ¶ 3, Ex.
    11 A.) Plaintiffs now assert this defect and their objections to it as yet another reason
    12 why the Government’s motions to dismiss should be denied: the Government asks
    13 this Court to defer to the administrative forfeiture process, but the Government has
    14 done nothing to correct the constitutional violation this Court has identified in that
    15 process. Plaintiffs should not be denied their ability to proceed in this Court in favor
    16 of administrative forfeiture proceedings that this Court has already deemed
    17 constitutionally defective.
    18 III.          The Government’s Reply Mischaracterizes the Valid USPV Claim
    19               Contesting the Administrative Forfeiture of Some of Plaintiffs’ Property.
    20               Even if the Court declines to rule on the validity of the Government’s
    21 forfeiture notices in these Plaintiffs’ cases, it still should permit Plaintiffs to correct
    22 the record with respect to a key “issue[] in need of resolution”—namely, the
    23 existence of a valid forfeiture claim for each Plaintiff’s property. Tounget v. Valley-
    24 Wide Recreation & Park Dist., No. EDCV 16-88 JGB (KKX), 2020 WL 8410456,
    25 at *2 (C.D. Cal. Feb. 20, 2020); see also Radware, Ltd. v. F5 Networks, Inc., No.
    26 5:13-cv-02024-RMW, 2016 WL 393227, at *2 (N.D. Cal. Feb. 2, 2016)
    27 (considering surreply that “helped to crystalize the disputed issues”).
    28               U.S. Private Vaults (“USPV”) submitted to the Government a valid claim
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     1 contesting its administrative forfeiture of each of the Plaintiffs’ property. Plaintiffs
     2 stated as much in their Oppositions to the Government’s Motion, pointing out that
     3 USPV submitted a June 11, 2021, claim as bailee for all of the assets seized during
     4 the search and for all assets listed on the May 20, 2021, notice of administrative
     5 forfeiture sent to USPV, and attaching a copy of the USPV claim. (Dkt. 28, Opp., at
     6 9-10.) Yet in the Government’s Reply brief, counsel asserts, with respect to this
     7 claim:
     8               The USPV claim is invalid because a claim must “[b]e made under oath
     9               by the claimant, not counsel for the claimant, and recite that it is made
    10               under penalty of perjury, consistent with the requirements of 28 U.S.C.
    11               1746.” 28 C.F.R. § 8.10(b)(3) (emphasis added); Jobe Decl. ¶ 4. The
    12               USPV claim is signed by USPV’s attorney (Michael Singer, Esq.), not
    13               USPV itself. See Docket 28-3 (Gluck Decl. Ex. B [USPV claim--see
    14               page 2 of 24 identifying Michael Singer as attorney and page 5 of 24
    15               reflecting that attorney Michael Singer signed the claim]).
    16 (Dkt. No. 29, Reply, at 3:14-22 (emphasis in original).)
    17               The Government’s representation baldly mischaracterizes the document.
    18 While Mr. Singer indeed happens to be an attorney, he explicitly identified himself
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                        PLAINTIFF’S SURREPLY TO DEFENDANTS’ MOTION TO DISMISS COMPLAINT
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     1 as not just USPV’s attorney, but also as its “Authorized Representative” (Coe, Dkt.
     2 37-3 at 2), and he explicitly signed under penalty of perjury as such:
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    15 (Id. at 5 (enhancement added).) The Government’s description of Mr. Singer’s
    16 capacity leaves out this critical fact and instead flatly asserts that he signed (only) as
                    4
    17 an attorney.
    18        The Government filed its Reply, including this mischaracterization, on June
    19 22. The very next day, counsel for Plaintiff sent a letter to Government counsel
    20 asking that it submit an errata clarifying this error in its Reply so as to avoid
    21 misleading the Court. (Van Dyk Decl. ¶¶ 4-5, Ex. B.) Government counsel never
    22 replied. (Id.)
    23
         4
    24       “A corporation is, of course, a legal fiction that cannot act at all except through
         its employees and agents.” Black v. Bank of Am., 30 Cal. App. 4th 1, 6 (1994).
    25
         There is no rule that says an attorney cannot also act as an agent of a corporation to
    26   make a claim in forfeiture, as Mr. Singer said he was. See, e.g., Smith, Prosecution
         and Defense of Forfeiture Cases, ¶ 6.02[4][b], at 33 n.66 (attorney may make claim
    27
         under penalty of perjury if attorney has personal knowledge) (citing United States v.
    28   Funds From Fifth Third Bank, 2013 WL 5914101 (E.D. Mich., Nov. 4, 2013)).
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                     PLAINTIFF’S SURREPLY TO DEFENDANTS’ MOTION TO DISMISS COMPLAINT
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   1 IV.           CONCLUSION
   2               Plaintiffs still submit that the Government’s Motions to Dismiss should be
   3 denied. First, the Government’s new claim that it needs all of Plaintiffs’ non-
   4 forfeited property as evidence should be rejected: no case supports the notion that
   5 the Government can declare a need to keep non-forfeited property seized without a
   6 warrant as “evidence” and use that declaration to avoid any judicial review of its
   7 deprivation of Plaintiffs’ property. Second, this Court’s ruling on the constitutional
   8 invalidity of the Government’s forfeiture notices renders Plaintiffs’ complaints
   9 before this Court appropriate and necessary to address Plaintiffs’ claims. Lastly,
 10 USPV’s administrative forfeiture claim is valid because Mr. Singer properly signed
 11 it as an “authorized representative.” For these reasons and the reasons set forth in
 12 Plaintiffs’ Opposition briefs, the Government’s Motions to Dismiss Plaintiffs’
 13 Complaints should be denied.
 14
 15 DATED: June 28, 2021                           Respectfully Submitted,
 16
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 17                                                Nicole R. Van Dyk
                                                   Ashley D. Bowman
 18
                                                   Naomi S. Solomon
 19                                                Bird, Marella, Boxer, Wolpert, Nessim,
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 20
 21
                                                   By:         /s/ Benjamin N. Gluck
 22
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 23                                                      Attorneys for Plaintiff John Doe
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